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                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA

JOSEPH LLOYD THOMPSON, et al.,

      Petitioners/Plaintiffs,

      v.                                        Case No.:

JOHN TSOUKARIS, et al.,
                                              HEARING REQUESTED
      Respondents/Defendants.


            PETITIONERS-PLAINTIFFS’ MOTION
 FOR TEMPORARY RESTRAINING ORDER AND EMERGENCY WRIT
                   OF HABEAS CORPUS

      Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs-Petitioners Joseph

Lloyd Thompson, Ansumana Jammeh, Karen Lopez, Sarai Hernandez, Nilson

Fernando Barahona Marriaga, Shelley Dingus, Jenner Benavides, David

Fernandez, Gerardo Arriaga, Aristoteles Sanchez Martinez, Michael Robinson,

Tomas Hernandez, and Peter Owusu (collectively, “Petitioners”) hereby submit

this Motion for Temporary Restraining Order and emergency habeas relief.

Petitioners are medically vulnerable people detained at three immigration detention

centers in south Georgia and are at a high risk of both contracting COVID-19 and

suffering severe negative health impacts, or even death, if they do. Because their

continued detention poses a severe risk of serious illness or death that vastly

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outweighs any legitimate government interest in continuing to detain them, their

continued detention constitutes impermissible punishment. Because the

government knows or should know of the substantial risk of serious harm to

Petitioners, their continued detention also demonstrates deliberate indifference. For

both reasons, the government’s conduct violates the Petitioners’ rights under the

Fifth Amendment Due Process Clause. Accordingly, Petitioners move the Court to

issue a Writ of Habeas Corpus or a temporary restraining order securing their

release from detention.

      The grounds for Petitioners’ Motion are set forth in more detail in the

accompanying Memorandum of Law in Support of their Petition for Writ of

Habeas Corpus and Motion for Temporary Restraining Order.

Dated: April 3, 2020                           Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 3, 2020, I have electronically filed the foregoing

with the Clerk of the Court using the CM/ECF Systems. Given the emergency nature

of this action, and the fact that no appearances have yet been entered by Defendants

in this case, I further certify that on April 3, 2020, I emailed copies of the pleadings

to Lori Beranek of the United States Attorneys’ Office for the Northern District of

Georgia, at lori.beranek@usdoj.gov.



                                               /s/ Amanda N. Brouillette
                                               Amanda N. Brouillette




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            CERTIFICATE OF COMPLIANCE WITH L.R. 5.1

     I hereby certify that the foregoing document is written in 14 point Times

New Roman font in accordance with Local Rule 5.1.



                                           /s/ Amanda N. Brouillette
                                           Amanda N. Brouillette




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